Case: 3:15-cr-00054-wmc Document #: 173 Filed: 01/26/16 Page 1 of 8

Sharon L. McCabe
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Madison, WI 53706
608-890-2493 | Sharon.mccabe@bus.wisc.edu

 

January 25, 2016

The Honorable William M. Conley
U.S. District Court

Western District of Wisconsin

120 North Henry Street, Room 320
Madison, WI 53703

Dear Honorable Judge William M. Conley,
I am writing this letter at the request of Amadou Camara, a past real estate student of mine.

I first met Amadou in 2011 when he contacted me to talk about real estate. At that time, he was nota
student of mine (I teach the introductory class in the Real Estate Department) but knew he wanted to learn
more and get involved in our program. Very few students make their way to my office so Iam always
impressed by those who take the initiative to do this. He later enrolled in my class.

Amadou further impressed me when he came down to Chicago to attend our Wisconsin Real Estate
Alumni Association (WREAA) conference. This is a professional conference attracting nationally known
speakers and about 150-200 real estate alumni. On his own, he contacted our executive director and
asked if he could help out. He was able to attend the conference in return for volunteering to help. Very
few students do this, especially undergrads. He has also attended our local alumni events and is an active
member of the student-run Real Estate Club.

For the entire time he was in the business school, he continued to impress me with his positive attitude,
good natured personality and willingness to always help out. I saw him give of his time to participate in a
school-wide panel about religion. He shared his personal experiences and was very articulate. He
always seemed to be an energetic leader amongst his peers.

Sincerely,

Sharon £ McCabe

Sharon McCabe

Faculty Associate — Department of Real Estate and Urban Land Economics
Associate Director - Graaskamp Center for Real Estate

James A. Graaskamp Center for Rea! Estate
University of Wisconsin-Madison

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Case: 3:15-cr-00054-wmc Document #: 173 Filed: 01/26/16 Page 2 of 8

Justin C. Diokno

450 E Waterside Dr, Chicago, IL 60601
815.272.3691 | justind369@gmail.com

 

1/24/16

The Honorable William M. Conley
U.S. District Court

Western District of Wisconsin

120 North Henry Street, Room 320

Dear Honorable Judge William M. Conley,

| am writing on behalf of the defendant, Mr. Amadou Camara, to share my personal experience with his character.
In this letter, | will outline the genesis of our relationship, our continued growth, and the positive impact he has
made in my life.

| first met Mr. Camara in the fall of 2010 through a mutual friend (who lived on my floor at the University of
Wisconsin Madison). | was in charge of music at a social event, and he approached me on my song selection. We
quickly connected on sharing a strong interest in music. Over the years, | have learned that we share a respect for
high ambition, higher education, and high regard to others.

Over the last 6 years, | have grown to admire Mr. Camara. He holds many positive qualities | do not come close to
finding in any of my other friends. Loyalty, intellect, ambition, and community are among his top qualities. Mr.
Camara has always been loyal to his friends and family and will always go out of his way to assist/be present in any
way possible, regardless of task at hand, like a parent. For example, during our most difficult times in college,
Amadou would take much time out of his day to give career and life advice to his peers who were looking to him
for support in job search, financial suggestions, and business intellect. Additionally, Mr. Camara’s intellect is
unparalleled, as he is always learning and constantly considering ways to advance his career. For example, during
our senior year in college, Mr. Camara has received several job offers from elite-tier corporations; corporations,
many would dream of working for; he chose from the best. Furthermore, Amadou’s ambition is at a level | wish
more would represent. Anything amadou puts his mind to, he is able to achieve. For example, | remember one
time we talked about wanting to experience other cultures; three months later, we were in Dubai together,
learning. Lastly, his sense of community, which ties to all of the above, is one | can learn from. Mr. Camara is
always giving back, from volunteering for cancer research to adopting from a local humane society.

From his selflessness to his ambition and regard for his community, to his mutual respect for his family and friends,
1am confident Mr Camara will remain a strong, productive, and value-add member of society. | have spent enough
time with him to know that he is a genuine human being with the ability to make a major impact in this world.

Please inform me if | can further assist in assessing Mr. Camara’s character.

Sincerely,

Justin C. Diokno
Case: 3:15-cr-00054-wmc Document #: 173 Filed: 01/26/16 Page 3 of 8

To Whom It May Concern:

During his time at The University of Wisconsin-Madison, he was a member of Alpha Kappa Psi —
The Professional Business Fraternity through the Wisconsin School of Business. He joined the
organization as a first year student and was dedicated to the organization for 7 semesters.
During his time as a dedicated member to the organization, Amadou was the Vice-President of
Professional Development for a term in which he helped foster the professionalism in our
membership. As | am the current VP-Alumni for the chapter, this is a proof of membership that
Amadou was a member of Alpha Kappa Psi.

Thanks,

Opi Abeysekera
VP-Alumni, Alpha Kappa Psi
Case: 3:15-cr-00054-wmc Document #: 173 Filed: 01/26/16 Page 4 of 8

Kyle Leistikow

9145 S. Cobblestone Way
Franklin, WI 5314
608-359-3934

January 23, 2016

The Presiding Judge
The Honorable William M. Conley
U.S. District Court

Your Honour,

| am a 26 year old Microbiologist responsible for an entire BSL-2 research laboratory near Milwaukee,
Wisconsin. | have known Amadou Camara for approximately five years after meeting him through
mutual friends while attending the University of Wisconsin. | am aware that he has pleaded guilty to a
conspiracy charge and, thusly, would very much appreciate the opportunity to provide a character
reference on his behalf. Please allow me to first begin by expressing my genuine respect and
appreciation for this individual. Amadou is, by far, one of the most selfless men | have ever had the
pleasure of befriending. | initially was able to relate to him through similar upbringings: | am an Army
child who has had the opportunity to live in various places around the world while Amadou, originally
from Gambia, was no stranger to being touted from place to place before he and his family settled in the
Wisconsin. As time went on, | began to realize that friends like Amadou come around very rarely, and it
was important to me to maintain his friendship after college. He attended my wedding, despite
numerous work obligations keeping him busy, and | was even fortunate enough to have him in the room
with all of my groomsman prior to the ceremony. About a year ago, my wife and | decided to visit
Chicago and attempted to meet up with Amadou. Unfortunately, he was out of town on that particular
weekend but without hesitation insisted that we stay in his apartment while he was away. | attempted
to decline his kind gesture, but his response still resonates with me to this day: “Kyle, you’re one of my
best friends. | would be honored if you and your wife stayed at my place. Make yourself at home.
Anything | have is yours while you’re there.” His statement highlighted his character: a code of honor,
selflessness, genuine respect, and devoted friendship. | had done very little, in my opinion, to earn that
respect; and yet, | received it nevertheless. | know Amadou, and | know that if he has done anything
wrong, he will take responsibility for it. My father always told me that a man’s character isn’t defined by
the poor decisions he makes, but rather the choice he makes to learn from those poor decisions. |
respectfully hope that this letter allows you to see the true Amadou, a friend who does so much for so
many and asks for absolutely nothing in return. If you wish to confirm any of the information provided
herein, please feel free to contact me at 608-359-3934. Thank you for your time and consideration.

Sincerely,

Kyle Leistikow
Case: 3:15-cr-00054-wmc Document #: 173 Filed: 01/26/16 Page 5 of 8

January 16, 2016

Dear Honorable Judge William M. Conley,

Over the past 6 years, | have had the honor and true privilege to have called Amadou one of my best
friends. Honestly, my relationship with him has resembled one much more comparable to two close
brothers. Our shared vision for success, community, social networking, and education are the key
components that naturally linked us together and will continue to strengthen our bond to an even
greater extent in the future.

My true sentiment, despite the charges brought up against him, have done absolutely nothing towards
the efforts of assassinating his character in the scope of my mind. Amongst the thousands of amiable,
kind, and intelligent individuals that I've had the pleasure of meeting in my short lifetime, | can say,
wholeheartedly, that Amadou is one of a kind. His genuine sincerity and compassion for helping others
separates him from many and | can safely say that this is the general sentiment of 99.9% of the people
that have even had the opportunity to meet him.

Together, we've pioneered organizations and programs designed to significantly enhance the
educational experience of my fellow teammates. Together, we've linked numerous friends of our own
people together that have long term professional and personal connections. Together we've embodied
the characteristics of young, ambitious, and humble individuals that society has crafted us to be.

| can honestly say that if it weren't for Amadou during college, | wouldn't be anywhere near the person |
am today from a professional or personal perspective.

| would like to ask that you please take these words into consideration when determining your judgment
and the ultimate character of Amadou Camara.

Regards,

Darius Feaster
Case: 3:15-cr-00054-wmc Document #: 173 Filed: 01/26/16 Page 6 of 8

Monday, January 25, 2016

Amadou Janneh
1013 Westridge Drive

Sun Prairie
WI 53590

To Whom it may Concern

My name is Amadou Janneh. I am Amadou’s uncle. I have known Amadou
Camara all his life. I am an Accountant and a Postal Worker by profession.

In my opinion Amadou’s greatest strength is his analytical ability as
evidenced by various financial transactions he has been involved in whilst
working with various private equity companies.

As an individual Amadou appears to be an extremely well rounded person. He
is likable , honest, confident and generally a pleasant person to be around. He
is well like and highly regarded by his peers and members of the community.

In the future I can see Amadou as a consultant in international finance or
heading a Hedge Fund in an Emerging market. His strong analytical
communication abilities makes him a strong candidate for assignments with
private equity companies that deal with complex international financial issues.
Given the breath of his skills and capabilities I have no doubt that Amadou
will be successful in whatever challenges he takes in that field.

Amadou is conscientious, dedicated and exemplary individual. I certainly
think he has a future in the field of high finance.

Accordingly I am pleased to recommend him to anyone who may need his
services.

Yours Sincerely

Pye Am J au vl

Amadou Janneh
Case: 3:15-cr-00054-wmc Document #: 173 Filed: 01/26/16 Page 7 of 8

Mustapha Camara
1635 Putnan Place Apt 6E
Bronx, NY 10467

To Whom it may concern

The purpose of this letter is to provide a character reference for Amadou
Camara. I am Amadou’s Uncle. I have known Amadou form the day he was
born. I believe this puts me in an excellent position to provide an accurate
assessment of Amadou’s character. He is a loyal, honest, considerate and
supportive individual who has the ability to see and understand things from
another persons perceptive. As a person Amadou is an exceptional individual.
I have always admired his sense of purpose and discipline. He consistently
demonstrated a giving nature and has always been generous with his free time
by volunteering in various community programs.

Amadou has exhibited excellent ethics and integrity in all my dealing with
him.

If you have any questions or would like further information regarding
Amadou please feel free to contact me.

Yours sincerely,

N\ushagh« ON 1A\
Mustapha Camara
1/25/16
Case: 3:15-cr-00054-wmc Document #: 173 Filed: 01/26/16 Page 8 of 8

January 25, 2016

Alasana Saidy

700 Park circle, Apt
Sun Prairie

WI 53590

To whom it may concern

I am Amadou’s religious teacher. I have known Amadou camara for 10 years.
I have known him to be respectful, pious and God fearing.

Amadou has taken part in a number of student mentoring programs and has
helped many juniors navigate their way through various grades in school.

In addition Amadou has been involved in a number of fund raising projects at
school including raising over $1000 for school extra curricular activities,

Amadou has matured into an outstanding and exemplary individual. I believe
Amadou has tremendous potential as an individual. I am quite confident he
will continue to be an asset to the whole community.

In closing I have nothing but positive things to say about Amadou. I do not

hesitate to recommend him to anyone requiring his services.

faithfully

—_—

Yo

  

Alasana Saidy
